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                           Exhibit A
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                                             Activity Summary Report
MISLE Activity ID:           6822772
Activity Type:               Vessel Inspection
Title/Description:           SPV Overnight Passenger Verification
Status:                      Closed - Approved Inspection
Point Of Contact:
Owning Unit:                 Marine Safety Detachment Panama City
Originating Unit:            Marine Safety Detachment Panama City
Start Date/Time:             24SEP2019 13:00Z
Prompt Date:
Team Lead:                   POWELL, TAKILA Spring


Vessel Information:
Vessel Name:                                      Call Sign:                           Current Flag / Flag At Time Of Activity:
ANASTASIA                                         WDC 7507                             UNITED STATES / UNITED STATES
Classification:                                   Primary VIN:                         Length:
Passenger Ship - Charter Fishing Vessel -         1041849                              64.8
General (More Than 6, Gross Tonnage <
100)
ITC/Convention (Subpart B):                       Regulatory (Subpart C or D):         Year Completed:
                                                                                       1996
Engine Compartment In An Open Space:              Fuel Compartment In An Open Space:   Vessel Constructed Of All Open Spaces:
Not Applicable                                    Not Applicable                       Not Applicable
Propulsion System Type:
Diesel Reduction
Vessel Associated Parties:
Name:                                                          Type:                          Role:
                                                               Organization                   Managing Owner
Address:

FLORALA, ALABAMA 36442
Name:                                                          Type:                          Role:
                                                               Individual                     Operator (in control/in charge)
Address:

DESTIN, FLORIDA 32541


Inspection Results:
System:                                          Inspection Results:                               Date:
01 - Certificates & Documentation                Inspected Satisfactory                            24SEP2019
02 - Structural Conditions                       Inspected Satisfactory                            24SEP2019
04 - Emergency Systems                           Inspected Satisfactory                            24SEP2019
05 - Radio Communications                        Inspected Satisfactory                            24SEP2019
07 - Fire Safety                                 Inspected With Deficiencies Noted                 24SEP2019
08 - Alarms                                      Inspected Satisfactory                            24SEP2019
09 - Working and Living Conditions               Inspected Satisfactory                            24SEP2019
11 - Life Saving Appliances                      Inspected Satisfactory                            24SEP2019
13 - Propulsion and Auxiliary Machinery          Inspected Satisfactory                            24SEP2019




                                                                                                                 Ex. A 001
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Deficiencies:
Item Number:                 Due Date:                        Extended Due Date:               o Not Available For Inspection
1                            27SEP2019                                                         o Security Violation
Issued Date:                 Resolved Date:                                                    o Worklist Item/Do Not Show In PSIX
                                                                                               o SMS Related/Objective Evidence For
24SEP2019                    25SEP2019                                                         MSO
System:                      Subsystem:                       Component:                       o Self Reported
07 - Fire Safety             N/A - No Subsystem               07120 - Means of escape          o Reported Via PR17
Action:                      Action Code:                     ACS/RO/TPO Finding Number:       o Refer To ACS/RO/TPO
                                                                                               o ACS/RO/TPO Associated
701 - Prior to carriage of   c - To the satisfaction of the
passengers/cargo             Coast Guard
                                                                                               o Accepted As Condition Of ACS/TPO
Description:
Vessel is required to mark emergency exit on both sides with EMERGENCY EXIT-KEEP CLEAR in 1" letters. Vessel does not have
outside exit marked. Vessel shall mark exit as required.

46 CFR 177.15
Resolution:
Vessel crew marked emergency escape on outside of escape as required.
Item Number:                 Due Date:                        Extended Due Date:               o Not Available For Inspection
2                            27SEP2019                                                         o Security Violation
Issued Date:                 Resolved Date:                                                    o Worklist Item/Do Not Show In PSIX
                                                                                               o SMS Related/Objective Evidence For
24SEP2019                    25SEP2019                                                         MSO
System:                      Subsystem:                       Component:                       o Self Reported
07 - Fire Safety             N/A - No Subsystem               07116 - Ventilation              o Reported Via PR17
Action:                      Action Code:                     ACS/RO/TPO Finding Number:       o Refer To ACS/RO/TPO
                                                                                               o ACS/RO/TPO Associated
701 - Prior to carriage of   c - To the satisfaction of the
passengers/cargo             Coast Guard
                                                                                               o Accepted As Condition Of ACS/TPO
Description:
Vessel engine room ventilation should have means to close in case of fire. Current pulley system does not effectively close off air to the
space. Vessel to repair pulls to completely close vents leading to the engine room.

46 CFR 182.465(h)
Resolution:
Vessel crew repaired pulley system and was able to close off air to the engine room.
Narrative:
This inspection was conducted in accordance with COMDT SMALL PASSENGER VESSEL (SPV) INSPECTION DIRECTION dated 13
Sep 2019. The CG-840T Inspection book was referenced as a job-aid.

Vessel Type: P/V ANASTASIA is a 64.8 foot FRP hull vessel inspected under Subchapter T and operating on an Oceans route.

Executive Summary:
This vessel was found to be fit for the intended routes and service as specified on the COI and in accordance with the appropriate
regulations. Verification was completed in accordance with the SPV Inspection Direction message.

(02) deficiencies were issued this inspection, (02) deficiencies were cleared, and (00) deficiencies remain outstanding.

Issued COI Amendment for Conditions of Operation. Added endorsement for 24-hour roving patrolman/watchman and updated overnight
accommodations to reflect 11 passengers. Added verbiage to routes and conditions in edit vessel section of MISLE with new COI to be
issued at next scheduled COI or drydock exam. Vessel rep instructed to keep paper amendment with COI.

ADDED CONDITIONS OF OPERATION.
AT ALL TIMES WHEN THE VESSEL IS CARRYING OVERNIGHT PASSENGERS, REGARDLESS IF THE VESSEL IS UNDERWAY
OR NOT, SHALL HAVE A SUITABLE NUMBER OF WATCHMAN IN THE VICINITY OF THE CABINS OR STATEROOMS AND ON
EACH DECK TO GUARD AGAINST AND GIVE ALARM IN CASE OF FIRE, MAN OVERBOARD, OR OTHER DANGEROUS
SITUATION.

Items retained for MSD PC files: N/A

Inspector Comments:
24SEP2019: Attended the ANASTASIA at Harbor walk Marina in Destin, FL in company with the vessel representative Captain Tony
Davis, one Mate and CG Inspector MSTC Joshua Greer to conduct an SPV Overnight Passenger Verification in-service inspection.

Conducted an inspection of the condition of overnight accommodations, fire protection equipment, lifesaving equipment, machinery,
electrical equipment, means of escape, and the general health and safety of the vessel.


                                                                                                                       Ex. A 002
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Reviewed the routes and conditions listed on the vessel’s Certificate of Inspection (COI) including the number of passengers and
overnight passengers permitted. The COI indicated that 14 passengers were permitted. The number of accommodations that met
requirements was 11. Informed the Captain that I would reduce the number of passengers allowed overnight. He made no objection.

Reviewed the logs, logbook and documentation onboard to verify the following: abandon ship, firefighting, and man overboard drills; crew
training; crew and passengers lists; passenger counts; voyage plans; and weekly, monthly, quarterly, and annual maintenance
inspections on lifesaving appliances. The Captain admitted he was not always conducting drills as required and even when they were
completed he was not logging them as required. I explained that drills were to be conducted every 3 months and logged. I also
explained that a new crewmember would necessitate drills regardless of when they were last completed. The Captain admitted that he
was not completing a passenger manifest or requiring the passenger don their life jacket and go to the muster station before overnight
trips. I educated him on the requirement and explained its purpose. He indicated he would comply in the future. The passenger
count/manifest/voyage plan will be left with the Captain’s father, William Davis. His contact info was added as a special note.

The accommodation space emergency exit was found to not be properly labeled on the outside. The crew corrected the deficiency as
required.

Verified the vessel had emergency instructions for the vessel. They were not mounted at the operating station but were instead mounted
in the main lounge for everyone to review. The vessel also had a quasi watch station quarter bill onboard. Ensured the vessel crew was
aware of and clearly understood their obligations in the event of an emergency including any additional requirements detailed on the COI.

Lifesaving equipment was inspected and found to be in good condition.

Ensured crew members knew the location of all firefighting equipment onboard the vessel and were familiar with its use including fire
extinguishers and smoke/heat detectors. Verified fire extinguishers were serviceable. Those onboard has been serviced in Jan 2019.

Tested the emergency fuel shut off and closure of ventilation to the engine room. The valves were located inside a hatch, below another
hatch. When you open the first hatch there is no indication that you must open another hatch or that valves are located below that hatch.
 While the valves themselves operated as required I recommended the Captain provide additional instructions to ensure anyone that
opens the first hatch is aware they must open a second hatch to actually reach the fuel shut off valves. I explained that this would help a
passenger locate the hatches quickly in the even the Captain required the help of passengers onboard in an emergency. The
crewmember was able to secure ventilation to the engine room with a pulley system but it is not an ideal set up. We recommended the
Captain work on the system to ensure there is complete closure every time.

Verified that a 24-hour watch is implemented in the event of overnight trips and that there is a suitable number of watchmen to patrol
throughout the vessel during the night-time whether or not the vessel is underway, to guard against and give alarm to a fire, man
overboard, or other dangerous situation. It was highly recommended that the operator designate the individual(s) in writing along with
their duties and log their patrols. We recommended no more than 2 hours between each round to be conducted and discussed items that
should be checked as part of the round. The Captain understood his obligation to ensure a crewmember was to stand the watch at all
times passengers are onboard including when at anchor.

Inspected for potential fire hazards and found none. We discussed the risks associated the unsupervised charging of lithium-ion
batteries and extensive use of extension cords and power strips.

Examined the vessel to ensure that no unapproved alterations were made to electrical systems or galley areas since the vessel’s
construction. It did not appear that there were any but inspectors did not have original plans to verify. Electrical panels and switchboards
were examined for evidence of bypassing overcurrent protection or installation of overcurrent devices rated greater than permitted and
not were found.

Inspection complete.
//s// LCDR Takila Powell

21OCT2019: Reviewed activity, printed and routed for signature.
Inspection continues.
//CWO4 Jason Johnson//MI//

08JAN20: COI Validated, mailed.
//s// MST1 Michael Bangh


Inspection Details
Inspection Type:                              Date:                      Unit:
In-Service Inspection                         24SEP2019                  Marine Safety Detachment Panama City


Streamlined Inspection Program (SIP) Summary:
Vessel Name:               ANASTASIA
Company Name:
PHASE I
Inspector Comments:
PHASE II
Inspector Comments:

                                                                                                                       Ex. A 003
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PHASE III
Inspector Comments:
PHASE IV
Inspector Comments:
Location(s):
Latitude:                  Longitude:                    Recorded Date/Time:          Description:
30°23.6 N                  086°30.4 W                    24SEP2019 13:00Z             Harborwalk Marina


Associated Parties: (None)



TWIC Details:
Worker Type:                          Checked:          Compliant:             Noncompliant:         Remarks:
Other                                 0                 0                      0


Radiation Details:
Radiation:                No Radiation Detected


Operational Controls: (None)



Log:
Effective Date:   Description/New Value:                                    Logged By Unit:               Logged By:
08JAN2020         Closed Date: 1/8/2020 4:56:37 PM                          Marine Safety Detachment      Bangh, Michael R
                                                                            Panama City
27SEP2019         Involved Personnel Point Of Contact: No                   Marine Safety Detachment      Powell, Takila S
                                                                            Panama City
21OCT2019         Involved Personnel Point Of Contact: No                   Marine Safety Detachment      Johnson, Jason L
                                                                            Panama City
27SEP2019         Involved Personnel Point Of Contact: No                   Marine Safety Detachment      Powell, Takila S
                                                                            Panama City
27SEP2019         Owning Unit: Marine Safety Detachment Panama              Marine Safety Detachment      Powell, Takila S
                  City                                                      Panama City
27SEP2019         Point Of Contact:                                         Marine Safety Detachment      Powell, Takila S
                                                                            Panama City
27SEP2019         Start Date: 9/24/2019 1:00:13 PM                          Marine Safety Detachment      Powell, Takila S
                                                                            Panama City
08JAN2020         Status/Subtype: Closed/Approved Inspection                Marine Safety Detachment      Bangh, Michael R
                                                                            Panama City
27SEP2019         Status/Subtype: Open/In Progress                          Marine Safety Detachment      Powell, Takila S
                                                                            Panama City
30SEP2019         Status/Subtype: Open/Submitted for Review                 Marine Safety Detachment      Greer, Joshua P
                                                                            Panama City
27SEP2019         Title: SPV Overnight Passenger Verification               Marine Safety Detachment      Powell, Takila S
                                                                            Panama City
27SEP2019         Vessel: ANASTASIA                                         Marine Safety Detachment      Powell, Takila S
                                                                            Panama City


Documents: (None)



Certificates:
Name:                                      Type:                       Description:
COI - Amended 08Jan2020                    Certificate of Inspection
                                           - Amended
Owning Unit:                               Status:                     Issued Date:                     Expired Date:

                                                                                                                   Ex. A 004
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Marine Safety Detachment Panama City   EXPIRED   15JAN2019        15JAN2024




                                                                         Ex. A 005
